
2 N.Y.3d 787 (2004)
U.S. UNDERWRITERS INSURANCE COMPANY, Respondent-Appellant,
v
CITY CLUB HOTEL, LLC, et al., Appellants-Respondents, et al., Respondents.
Court of Appeals of the State of New York.
Submitted February 2, 2004.
Decided May 11, 2004.
Chief Judge Kaye and Judges G.B. Smith, Ciparick, Rosenblatt, Graffeo, Read and R.S. Smith.
Certification of questions by the United States Court of Appeals for the Second Circuit, pursuant to section 500.17 of the Rules of Practice of the Court of Appeals (22 NYCRR 500.17), accepted and the issues presented are to be considered after briefing and argument.
